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Eat Here Brands, LLC, et al. - Service List to e-mail Recipients
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                                                ATLANTA, GA 30339




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                                                                                    75 TED TURNER DR, SW STE 600
                                                                                    ATLANTA, GA 30303-3309


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